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 6

 7

 8

 9                 IN THE UNITED STATES DISTRICT COURT FOR THE

10                      EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,             ) Case No: 2:13-CR-0300 GEB
12
                                           )
               Plaintiff,                  )
13
                                           ) STIPULATION REGARDING
         vs.                               ) EXCLUDABLE TIME PERIODS
14
                                           ) UNDER SPEEDY TRIAL ACT;
                                           ) [PROPOSED] FINDINGS AND ORDER
15   JOHN HOLLISTER MAHAN, et al.,         )
                                           ) Date: October 10, 2014
16
               Defendants.                 ) Time: 9:00 a.m.
                                           ) Courtroom: GEB
17
                                           )
                                           )
18

19
                                    STIPULATION
20
         Plaintiff United States of America, by and through its
21
     counsel of record, and defendants, by and through their respective
22
     counsel of record, hereby stipulate as follows:
23
         1.    By previous order, this matter was set for status on
24

25
     September 12, 2014.




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 1       2.    By this stipulation, defendants now move to continue the
 2   status conference until October 10, 2014, at 9:00 a.m., before the
 3
     Honorable Garland E. Burrell Jr. and to exclude time between
 4
     August 29, 2014, and October 10, 2014 under Local Code T4.
 5
     Plaintiff does not oppose this request.
 6
         3.    The parties agree and stipulate, and request that the
 7
     Court find the following:
 8
               a.   The government has produced discovery associated
 9
     with this case.
10
               b.   Counsel for defendants request additional time to
11

12   review discovery, to conduct investigation and research related to

13   the charges, to discuss potential resolutions with his client, and

14   to otherwise prepare for trial.

15             c.   Counsel for defendants believe that failure to

16   grant the above-requested continuance would deny them the
17   reasonable time necessary for effective preparation, taking into
18
     account the exercise of due diligence.
19
               d.   The government does not object to the continuance.
20
               e.   Based on the above-stated findings, the ends of
21
     justice served by continuing the case as requested outweigh the
22
     interest of the public and the defendants in a trial within the
23
     original date prescribed by the Speedy Trial Act.
24
               f.   For the purpose of computing time under the Speedy
25
     Trial Act, 18 U.S.C. § 3161, et seq., within which trial must


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 1   commence, the time period between the date of the parties'
 2   stipulation, August 29, 2014 and the new status conference on
 3
     October 10, 2014 , inclusive, is deemed excludable pursuant to 18
 4
     U.S.C.§ 3161(h)(7)(A), (B)(iv) [Local Code T4] because it results
 5
     from a continuance granted by the Court at defendants’ request on
 6
     the basis of the Court's finding that the ends of justice served
 7
     by taking such action outweigh the best interest of the public and
 8
     the defendants in a speedy trial.
 9
         4.    Nothing in this stipulation and order shall preclude a
10
     finding that other provisions of the Speedy Trial Act dictate that
11

12   additional time periods are excludable from the time period within

13   which a trial must commence.

14       IT IS SO STIPULATED.

15                                             BENJAMIN B. WAGNER
                                               United States Attorney
16
         DATED: August 29, 2014                By: /s/ Samuel Wong
17                                             Assistant United States Attorney
18
         DATED: August 29, 2014                     /s/ Patrick K. Hanly
19
                                               Counsel for Defendant
20                                             John H. Mahan

21
         DATED: August 29, 2014                     /s/ Matthew Bockmon
22                                             Counsel for Defendant
                                               Russell E. Gilmore
23

24       DATED:   August 29, 2014              /s/ Michael Bigelow
                                               Counsel for Defendant
25                                             Richard D. Hemsley




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 1                                      O R D E R
 2
         The Court, having received, read, and considered the
 3
     stipulation of the parties, and good cause appearing therefrom,
 4

 5
     adopts the stipulation of the parties in its entirety as its

 6   order.    Based on the representation of the parties and good cause

 7   appearing therefrom, the Court hereby finds that the failure to

 8   grant a continuance in this case would deny defense counsel

 9   reasonable time necessary for effective preparation, taking into
10   account the exercise of due diligence.          The Court finds that the
11
     ends of justice to be served by granting a continuance outweigh
12
     the best interests of the public and the defendants in a speedy
13
     trial.    It is ordered that time beginning from the parties'
14
     stipulation on August 29, 2014, up to and including the October
15
     10, 2014, status conference shall be excluded from computation of
16
     time within which the trial of this matter must be commenced under
17
     the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h) (7) (A) and
18
     (B) (iv) and Local Code T 4, to allow defense counsel reasonable
19
     time to prepare.
20

21       IT IS SO ORDERED.

22
         Dated:      September 3, 2014

23

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                                            -4-
